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October 6, 2020

Hon. Susan D. Wigenton, U.S.D.J.
M.L. King, Jr. Federal Bldg. & Courthouse
Room 5060
_ 50 Walnut Street
Newark, NJ 07102

Re: Eugene Mazo v. Christopher J. Durkin, etc., et al.
Civil Action No. 2:20-cv-08336-SDW-LDW

Dear Judge Wigenton:

| am an Assistant Essex County Counsel representing Christopher J. Durkin in
the above matter.

Mr. Durkin joins the motions and briefs filed by the co-defendants in this matter.

Respectfully submitted,

s/Alan Ruddy

Alan Ruddy

Assistant County Counsel
(973) 621-5021

AR/gs
cc/all counsel

 

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